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                        UNITED STATES DISTRICT COURT
                         MIDDLE DISTRICT OF FLORIDA
                               TAMPA DIVISION


  UNITED STATES OF AMERICA

  v.                                                Case No. 8:11-cr-78-T-30TGW

  CARLOS ALBERTO INFANTE



                         FORFEITURE MONEY JUDGMENT

         THIS CAUSE comes before the Court upon the filing of the United States’

  Motion for a Forfeiture Money Judgment (Doc. 35) in the amount of $4,000.00,

  which, upon entry, shall become a final order of forfeiture as to defendant Carlos

  Infante.

         Being fully advised in the premises, the Court hereby finds that the United

  States has established that the defendant obtained at least $4,000.00 as a result of

  the drug conspiracy alleged in Count One of the Indictment, in violation of 21 U.S.C.

  § 846. Accordingly, it is hereby

         ORDERED AND ADJUDGED that for good cause shown, the United States’

  motion (Doc. 35) is GRANTED.

         It is FURTHER ORDERED that, pursuant to the provisions of 21 U.S.C. § 853

  and Fed R. Crim. P. 32.2(b)(2), defendant Carlos Infante shall be held jointly and

  severally liable with any subsequently convicted co-conspirators for a forfeiture

  money judgment in the amount of $4,000.00, which represents the amount of funds

  received by the defendant as a result of the drug conspiracy charged in Count One
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  of the Indictment.

            The Court retains jurisdiction to enter any further order necessary for the

  forfeiture and disposition of any of the defendant’s property that the United States

  is entitled to seek as a substitute asset to satisfy the money judgment, and to

  entertain any third party claim that may be asserted in these proceedings.

            DONE and ORDERED in Tampa, Florida on June 29, 2011.




  Copies to:
  Counsel/Parties of Record
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